Case 1:05-cv-01189-.]DT-STA Document 5 Filed 08/29/05 Page 1 of 3 Page|D 1
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION

LlSA MICHELLE WEEKS, )
)
Plaintiff, )
)

vs. ) No.: 1:05-1189 T/An
)
DAVID ALAN GREENE, Individually, )
as Chief Manager, and as Principal )
OWner/Member of Merit Management, )
LLC; and Merit Management, LLC, )
)
Defendants. )

 

ORDER CRANTING EX'I`ENSION OF TIME TO FILE RESPONSIVE PLEADING

 

Upon motion of the Defendants, David Alan Greerie and Merit Management, LLC., for an extension
of time to serve a responsive pleading, statements of counsel for these Defendants, and the entire record, it is,
ORDERED that the Defendants are granted an extension of time to file responsive pleadings With

said responsive pleadings to be served on or before September 25, 2005.

 

DATED; Thisthe Z€i’day Of A/?Q;+ ,2005.

(s./Vz;a§ 6a1

JUDGE

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mm sale 55 and,'or 79 (a) FHCP on q ‘ Ol -OD

Case 1:05-cv-01189-.]DT-STA Document 5 Filed 08/29/05 Page 2 of 3 Page|D 2
APPROVED FOR ENTRY:

PENTECO§T, GLENN & RUDD PLLC

i!zRANDoN o. GIBsoN #21485
Attomeys for Defendants,

David Greene & Merit Management
106 Stonebridge Blvd

Jackson, TN 38305

(731) 668-5995

CERT]FICATE OF SERVICE

This is to certify that I served a copy ofthis pleading or paper personally or by mail upon each

attorney or firm of attorneys appearing of record for each adverse party on or before the fl

ling date
thereof.

DATE;rhiS rhe@§“ii’t:iay ofAugust, 2005.

PENTECOST, GLENN & Ri_ D, PLLC

l%randon O. Gibson

 

DISTRICT C URT WESTENR D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy ofthc document docketed as number 5 in
case 1:05-CV-01189 Was distributed by faX, mail, or direct printing on
Scptcmber 1, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

